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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

Mary T. Thomas, et al.,                         No.: 3:20-cv-01552-JMC

               Plaintiffs,

         v.
                                                          Election Defendants’
Marci Andino, et al.,                                Motion for Summary Judgment
               Defendants.


         Defendants Marci Andino, John Wells, JoAnne Day, Clifford J. Edler, Linda

McCall, and Scott Moseley, pursuant to Federal Rule of Civil Procedure 56, move for

summary judgment on all six of the Plaintiffs’ claims.

         The Plaintiffs challenge two provisions of South Carolina’s absentee voting

laws: the Qualification Requirement and the Witness Requirement. First, they

bring claims under the United States Constitution, Voting Rights Act (“VRA”), and

Americans with Disabilities Act (“ADA”) seeking to enjoin the requirement that all

South Carolinians must meet a statutory qualification to vote by absentee ballot.

See S.C. Code § 7-15-320. Second, they bring those same three claims attempting to

enjoin the requirement that a voter’s oath on an absentee mail ballot must be

witnessed. See S.C. Code § 7-15-380.

         The Plaintiffs do not even have standing to assert their challenges to the

Qualification Requirement. On the merits, their challenges to both provisions lack

merit.

         This motion is supported by the attached memorandum and exhibits,

pursuant to Local Civil Rule 7.04.
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                                      Respectfully Submitted,

                                      s/ Wm. Grayson Lambert

                                      M. Elizabeth Crum
                                      Fed. ID No. 372
                                      Wm. Grayson Lambert
                                      Fed. ID No. 11761
                                      Jane W. Trinkley
                                      Fed. ID No. 4143
                                      BURR & FORMAN LLP
                                      Post Office Box 11390
                                      Columbia, SC 29211
                                      (803) 799-9800

                                      Robert Bolchoz
                                      ROBERT BOLCHOZ LLC
                                      P.O. Box 6989
                                      Columbia, SC 29260
                                      (803) 790-7474

                                      Karl Smith Bowers, Jr.
                                      BOWERS LAW OFFICE
                                      P.O. Box 50549
                                      Columbia, SC 29250
                                      (803) 753-1099

                                      Harrison D. Brant
                                      STATE ELECTION COMMISSION
                                      1122 Lady Street, Suite 500
                                      Columbia, SC 29201
                                      (803) 734-9063

                                      Counsel for Election Defendants




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